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                                  UNITED STATES DISTRICT COURT
                                   SOUTHERN DISTRICT OF OfflO             ^• aSEP26
                                         EASTERN DIVISION                  '
                                                                                                         ;i'. i


 UNITED STATES OF AMERICA,
                                                          CASEN
                     Plaintiff,                                     ''Judge Marbley i
                                                          JUDGE
           vs.

                                                          INDICTMENT
 DANIEL LEE RIPPY
                                                          18 U. S. C. § 875(c)
                     Defendant.



THE GRAND JURY CHARGES:

                                                COUNT 1
                                  (Threat in Interstate Communications)

          On or about November 24, 2018 in the Southern District of Ohio, and elsewhere, the

defendant, DANIEL LEE RIPPY, knowingly and willfully transmitted in interstate commerce an

electronic conununication from the Stateof California to The Ohio StateUniversity in Columbus,

Ohio that contained a threat to injure students at The Ohio State University and which was sent

during the football game between The Ohio State University and the University of Michigan in

Columbus, Ohio, to wit: thedefendant stated that"yo^ school is going to getshotthefuck up and

I'm seriously going to hurt the students and all the players from the football team."

          In violation of 18 U.S.C. § 875(c).

                                                 A TRUE BILL


                                                 s/Foreperson
                                                 FOREPERSON
BENJAMIN C. GLASSMAN
UNITED STATES ATTORNEY'

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JESS]            . KNIGHT, (({086615)
Assis'           ited States Attorney
